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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                  FORT WORTH DIVISION


  Braidwood Management Inc., et al.

                         Plaintiffs,
                                                    Case No. 4:20-cv-00283-O
  v.

  Xavier Becerra, et al.,

                         Defendants.


 MOTION FOR EXTENSION OF TIME FOR PLAINTIFFS TO FILE
    RESPONSE TO MOTION FOR STAY PENDING APPEAL
       Under the Court’s order of April 13, 2023, (ECF No. 122), the plaintiffs’ re-
 sponse to the defendants’ motion for stay pending appeal is due at 5:00 .. today.
 The plaintiffs respectfully request a 24-hour extension of this deadline, which would
 allow the brief to be filed by 5:00 .. tomorrow, April 18, 2023.
       The plaintiffs are requesting this extension because their lead counsel, Jonathan
 F. Mitchell, has been traveling each of the last four days and has had briefing deadlines
 and responsibilities to his clients in other matters that he has been unable to move.
 On Friday, April 14, 2023, Mr. Mitchell had to file a response to a motion to extend

 the discovery deadline in Little v. Llano County, No. 1:22-cv-00424-RP (W.D. Tex.),
 a brief on which the district court in that case had previously granted a one-week
 extension. After filing that brief, Mr. Mitchell had to travel by plane both Saturday
 and Sunday, and today he must attend to legislative matters in the Texas Capitol on
 behalf of his legislator clients. Mr. Mitchell has begun working on the brief and ex-
 pects to finish it late tonight after legislative business finishes for the day. Mr. Mitchell
 also works as a solo practitioner and is unable to delegate brief-writing or other tasks
 and responsibilities to colleagues or subordinates. This requested extension is not



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 sought for purposes of delay, but so that counsel will have sufficient time to prepare
 a response that will be helpful to the Court. We have e-mailed counsel for the defend-

 ants and they take no position on the motion.

                                  CONCLUSION
     The plaintiffs’ motion for a 24-hour extension of time for filing the response to
 the defendants’ motion for stay pending appeal should be granted.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
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  Dated: April 17, 2023                     Counsel for Plaintiffs




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                    CERTIFICATE OF CONFERENCE
     I certify that I e-mailed Christopher M. Lynch, counsel for the defendants, and
 he informed me that the defendants take no position on the motion.



                                           /s/ Jonathan F. Mitchell
                                          J F. M
                                          Counsel for Plaintiffs




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                        CERTIFICATE OF SERVICE
     I certify that on April 17, 2023, I served this document through CM/ECF upon:

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                                          /s/ Jonathan F. Mitchell
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                                         Counsel for Plaintiffs




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